

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. 66,951-01






EX PARTE ROY BERNARDO HALL, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 1988CR3704-W1 IN THE 290TH DISTRICT COURT


FROM BEXAR COUNTY






	Per curiam.


O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of possession of a
controlled substance and sentenced to eighteen (18) years' imprisonment. 

	Applicant contends that he is being denied credit for time spent released on parole prior to
revocation.  Applicant has alleged facts that, if true, might entitle him to relief.  Ex parte Spann, 132
S.W.3d 390 (Tex. Crim. App. 2004).  


	The trial court has entered findings of fact or conclusions of law finding that Applicant is a
person described by Tex. Gov't Code § 508.149(a) and so he is not eligible for street time credit
under Tex. Gov't Code § 508.283(b) because he was convicted of robbery by threat in 1979. 
However, the record does not include any records from TDCJ or a copy of the judgment of
conviction in the robbery.  In these circumstances, additional facts are needed.  As we held in Ex
parte Rodriguez, 334 S.W.2d 294, 294 (Tex. Crim. App. 1997), the trial court is the appropriate
forum for findings of fact.

	The trial court may use any means set out in Tex. Code Crim. Proc. Art. 11.07, § 3(d), in
that it may obtain a record of the 1979 judgment and/ or order the Texas Board of Pardons and
Paroles and /or the Texas Department of Criminal Justice, Correctional Institutions Division, to file
an affidavit listing Applicant's sentence begin date and the dates of issuance of any parole-revocation
warrants leading to the revocation of such parole or mandatory supervision.  The affidavit should
state whether Applicant is serving a sentence for, or has previously been convicted of, an offense
which was listed in Tex. Gov't. Code § 508.149(a) at the time of Applicant's revocation.  The
affidavit should also address how much time was remaining on this sentence on the date that
Applicant was released on parole, and how much time Applicant spent on release before the issuance
of the parole-revocation warrant.  The affidavit should state whether or not Applicant is receiving
credit for any of the time spent on parole.  Finally, the affidavit should indicate whether or not
Applicant has submitted his claim to the time credit resolution system of TDCJ, and if so, the date
when the claim was submitted.

	The trial court may also order depositions, interrogatories or a hearing.  In the appropriate
case, the trial court may rely on its personal recollection and court records.  Id.  If the trial court
elects to hold a hearing, it shall determine whether Applicant is indigent.  If Applicant is indigent
and wishes to be represented by counsel, the trial court shall appoint an attorney to represent
Applicant at the hearing.  Tex. C ode Crim. Proc. Art. 26.04.

	Following the receipt of the 1979 judgment and/ or an affidavit, the trial court shall make
findings of fact first as to whether Applicant has properly exhausted his administrative remedies as
required by Tex. Gov't. Code § 501.0081(b)-(c).  The trial court shall then make findings as to
whether Applicant is eligible to earn street time credit, and if so, whether he is entitled to credit for
his time spent on release.  The trial court shall also make findings as to whether Applicant is
receiving the proper amount of time credit for that time.  The trial court shall also make any other
findings of fact and conclusions of law that it deems relevant and appropriate to the disposition of
Applicant's claim for habeas corpus relief.

	This application will be held in abeyance until the trial court has resolved the fact issues.  The
issues shall be resolved within 90 days of this order.  If any continuances are granted, a copy of the
order granting the continuance shall be sent to this Court. A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be returned to this Court within 120 days of the date of this order.  Any extensions of time shall be
obtained from this Court. 

Filed:  March 21, 2007

Do not publish


